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                        IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

ENTERTAINMENT ONE UK LTD.,

        Plaintiffs,                                           Case No.: 1:18-cv-2958

v.                                                            Judge Rebecca R. Pallmeyer

THE PARTNERSHIPS AND UNINCORPORATED                           Magistrate Judge Young B. Kim
ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

        Defendants.

                              SATISFACTION OF JUDGMENT

       WHEREAS, a judgment was entered in the above action on July 2, 2018 [44], in favor of

Plaintiff and against the Defendants Identified in Amended Schedule A. Plaintiff acknowledges

payment of an agreed upon damages amount, costs, and interest and desires to release this

judgment and hereby fully and completely satisfy the same as to the following Defendants:

                      No.                      Defendant
                      222                 Fashion Blue Boutique

       THEREFORE, full and complete satisfaction of said judgment as to above identified

Defendants is hereby acknowledged, and the Clerk of the Court is hereby authorized and directed

to make an entry of the full and complete satisfaction on the docket of said judgment.
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